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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
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                                                      :
UNITED STATES OF AMERICA,                             :         CASE NO. 1:09CR00278-004
                                                      :
         Plaintiff,                                   :
                                                      :
vs.                                                   :         ORDER ADOPTING REPORT
                                                      :         AND RECOMMENDATION AND
AMANDA J. LORINCE,                                    :         ORDER AMENDING REPORT
                                                      :         AND RECOMMENDATION
         Defendant.                                   :
                                                      :
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JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:



        This case was referred to Magistrate Judge Kenneth S. McHargh to conduct the appropriate

proceedings as to defendant’s violation of the conditions of probation. Magistrate Judge McHargh

conduct a detention hearing, preliminary exam and revocation hearing on December 7, 2010.

Defendant, after being fully advised of the allegations and potential penalties, waived the

preliminary exam and admitted the following violations:

                 1) illicit drug abuse on or about November 9, 2010;

                 2) illicit drub abuse on or about October 28, 2010;

                 3) drug treatment failure;

                 4) failure to make restitution payments;

                 5) illicit drug use on or about 12/1/10 (confirmation is pending

                 with Alere Laboratories.

        Following discussion between the parties and the supervising officer a joint recommendation

was presented to the Court calling for a delay in sentencing coupled with enhanced requirements

during probation. Magistrate Judge McHargh, after considering all relevant factors, the statement

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of defendant and the representations of counsel and the supervising officer, issued a Report and

Recommendation December 8, 2010, recommending:

               1) terms of defendant’s probation modified to require placement

               at Oriana House for a period of sixth months;

               2) all previous requirements of probation to remain in effect;

               3) sentencing to occur upon the successful completion of the

               Oriana House placement or immediately upon a finding that

               defendant has otherwise violated the terms of her probation.

       This Court adopts the Report and Recommendation of Magistrate Judge McHargh and

postpones sentencing in this case until after defendant has completed her placement at Oriana House

(placement to be made as soon as possible) or immediately upon being notified that defendant has

further violated the conditions of her probation. Additionally, the Court adopts the Order Amending

Report and Recommendation and orders that the cost of placing defendant at Oriana House be

waived.

       The supervising officer is instructed to contact the Court for a sentencing date as soon as

defendant has completed placement at Oriana House or upon receipt of information that defendant

has otherwise violated the terms of her probation.

       IT IS SO ORDERED.



Dated: December 13, 2010                             s/       James S. Gwin
                                                     JAMES S. GWIN
                                                     UNITED STATES DISTRICT JUDGE




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